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                            IN THE UNITED STATES DISTRICT COURT

                              FOR THE DISTRICT OF DELAWARE

AUTONOMOUS DEVICES LLC,                             )
                                                    )
               Plaintiff,                           )
                                                    )
       v.                                           )     C.A. No. 22-1466-MN
                                                    )
TESLA, INC.,                                        )
                                                    )
               Defendant.                           )


                                    NOTICE OF LODGING

       PLEASE TAKE NOTICE that Exhibits I, J, K and L to Autonomous Devices LLC’s

(“AD”) Opening Letter Brief (D.I. 61) will be submitted to in hard copy to Chambers. The

restrictions Tesla, Inc. (“Tesla”) placed on these documents preclude electronic transmission or

submission by AD. Therefore, Tesla’s lawyers must electronically transmit the documents to

Delaware where they will be printed on special paper and hand delivered to AD’s counsel. Once

AD’s counsel obtains the documents from Tesla’s counsel, AD’s counsel will deliver them to the

Court. No protective order has been issued in this case. See D.I. 34, 35, 36, 38, 42, 45, 48, 52,

61.

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Dated: August 8, 2023
